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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                        CENTRAL DIVISION




 DIAMOND RANCH ACADEMY, INC.,
                   Plaintiff and
                   Counterclaim Defendant,                          ORDER AND
                   vs.                                       MEMORANDUM DECISION
                                                       ON REQUEST FOR JUDICIAL NOTICE
 CHELSEA FILER,                                               Case No. 2:14-CV-751-TC
                   Defendant and Counterclaim
                   Plaintiff.



        In connection with Defendant Diamond Ranch Academy’s (DRA) opposition1 to

Defendant Chelsea Filer’s Special Motion to Strike, DRA has filed a Request for Judicial

Notice.2 For the reasons set forth below, the Request is GRANTED IN PART AND DENIED IN

PART.

        In its Request for Judicial Notice, DRA sets forth a lengthy list of documents and facts

that it asks the court to conclusively state are true. Ms. Filer opposes most of the requests, but

agrees that certain facts are proper for judicial notice.3

        Under Rule 201 of the Federal Rules of Evidence, “[t]he court may judicially notice a fact

that is not subject to reasonable dispute because it: (1) is generally known within the trial court’s



        1
            ECF No. 71.
        2
            ECF No. 72.
        3
            See ECF No. 89.
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territorial jurisdiction; or (2) can be accurately and readily determined from sources who

accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). Judicial notice is the process

by which

       a judge recognizes the truth of certain facts, from which their nature are not
       properly the subject of testimony, or which are universally regarded as established
       by common knowledge. The recognition of certain facts by the judge is proper
       without proof because such facts are not subject to reasonable dispute.

Meredith v. Beech Aircraft Corp., 18 F.3d 890, 895 (10th Cir. 1994).

       The category of facts qualifying for judicial notice is relatively narrow. “The usual

method of establishing adjudicative facts is through the introduction of evidence, ordinarily

consisting of the testimony of witnesses. If particular facts are outside the area of reasonable

controversy, this process is dispensed with as unnecessary. A high degree of indisputability is

the essential prerequisite.” Fed. R. Evid. 201(a) advisory committee’s note to 1972 Proposed

Rules (emphasis added). “The kinds of things about which courts ordinarily take judicial notice

are (1) scientific facts: for instance, when does the sun rise or set; (2) matters of geography: for

instance, what are the boundaries of a state; or (3) matters of political history: for instance, who

was president in 1958.” Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir. 1997). Much of the

information offered by DRA does not fall within that category of facts.

       Ms. Filer does not object to judicial notice of the following facts:

1.     The State of Utah’s Department of Human Services (DHS) has licensed DRA to provide
       residential treatment services to adolescents.4


       4
        DRA asks the court to judicially notice the following: “That Diamond Ranch Academy
was, and is, lawfully licensed as a Residential Youth Treatment Facility by the State of Utah
Department of Human Services from June 1, 2005 to the present.” (ECF No. 72 at 3.) But the
evidence submitted does not completely support the statement. In particular, the dates on the

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2.     The State of Utah’s Department of Human Services (DHS) has licensed DRA as a
       “Mental Health/Substance Abuse/Residential Support Facility” for young adults.

3.     DHS stated that (1) it approved DRA’s “Mental Health/Substance Abuse/Residential
       Support Facility” license because it believed that certain reports showed that “reasonable
       standards of care are maintained” at DRA, and (2) it believed “the services provided meet
       the requirements established by [Utah] State Standards.”

4.     DRA’s current staff have professional licenses and certifications in medicine, chiropractic
       medicine, cardiopulmonary resuscitation (CPR), phlebotomy, nursing, psychiatric
       nursing, nursing assistant, cosmetology/esthetician, physician assistant,” physical therapy,
       mental health counseling, social work, and marriage and family therapy.

(Def.’s Response to Pl.’s Request for Judicial Notice (ECF No. 89) at 4, 7-9.) The court agrees

that the above information contains adjudicative facts that are proper for judicial notice. See,

e.g., Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208, 1213 (10th Cir. 2012) (“The

contents of an administrative agency’s publicly available files traditionally qualify for judicial

notice”).

       But, as Ms. Filer correctly points out, much of the information that DRA presents does

not qualify for judicial notice because, in order to recognize the information articulated by DRA,

the court would have to make a legal conclusion based on evidence that may reasonably be

questioned. For example, DRA asks the court to judicially notice the following “facts”: (1) “That

during the time period to this matter ‘reasonable standards of care [were] maintained [at

Diamond Ranch Academy] and the services provided [adult clients for Mental Health/Substance

Abuse/Residential Support met] the requirements established by [the Department of Human



licensing certificates do not line up back to back—there appear to be gaps in time. And the types
of licensed facilities within DRA vary each year with no explanation. The inconsistency makes it
difficult to determine the truth of the more sweeping statement above. The court is only
comfortable recognizing the more general fact as Ms. Filer has articulated it.

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Services’] State Standards”; (2) “That DRA does not unlawfully incarcerate children”; and

(3) “That Defendant’s statement: ‘when a parent sends a child to DRA, the child will be abused’

is false.” (Pl.’s Request for Judicial Notice (ECF No. 72) at 7.) Taking judicial notice of that

information would not be a proper use of the court’s authority under Rule 201.

       In addition, some of the evidence proffered by DRA to support the specific statements is

insufficient. For instance, the statement in Paragraph II.E. of DRA’s judicial notice

request—“That Diamond Ranch Academy’s Residential Youth Treatment Program ‘employees

. . . are properly screened to work with youth’”—specifically relates to DRA but the evidence

provided is a generic statement on the licensing agency’s website that has no information about

DRA. (See ECF No. 72 at 4, Ex. B; see also id. ¶ II.F (based on same generic statement).)

       For the reasons set forth, the court judicially recognizes Facts 1 through 4 (articulated

above). The court declines to judicially notice the remaining information provided by DRA in its

Request.

       SO ORDERED this 17th day of February, 2016.

                                              BY THE COURT:



                                              TENA CAMPBELL
                                              U.S. District Court Judge




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